             Case 4:22-cv-03892-YGR Document 147 Filed 01/26/24 Page 1 of 4



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14    Attorneys for Involuntary Plaintiff Thales Visionix, Inc
15
                               UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17

18   GENTEX CORPORATION and INDIGO                     Case No.: 4:22-cv-03892-YGR
     TECHNOLOGIES, LLC,
19

20          Plaintiffs,                                EXHIBIT 1 TO INVOLUNTARY
                                                       PLAINTIFF THALES VISIONIX, INC.’S
21   THALES VISIONIX, INC.,                            RESPONSE TO JOINT MOTION TO
22                                                     DISMISS (Dkt 146)
            Involuntary Plaintiff,
23   v.

24   META PLATFORMS, INC., and META
     PLAINTFORM TECHNOLOGIES, LLC,
25
               Defendants.
26

27

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      EXHIBIT 1 TO INVOLUNTARY PLAINTIFF THALES VISIONIX, INC.’S RESPONSE TO JOINT MOTION
                                                                                TO DISMISS - 1-
                                                                    Case No. 4:22-cv-03892-YGR
             Case 4:22-cv-03892-YGR Document 147 Filed 01/26/24 Page 2 of 4



1           Involuntary Plaintiff, Thales Visionix, Inc., attaches Exhibit 1 which was inadvertently
2
     not included during the electronic filing of its Response to the Joint Motion to Dismiss (Dkt.
3
     146)
4

5
      This 26th day of January 2024.                  Respectfully submitted,
6

7
                                                      /s/ Paul N. Tauger
      Meredith Martin Addy (pro hac vice)
8                                                     Paul N. Tauger (SBN 160552)
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      EXHIBIT 1 TO INVOLUNTARY PLAINTIFF THALES VISIONIX, INC.’S RESPONSE TO JOINT MOTION
                                                                                TO DISMISS - 2-
                                                                    Case No. 4:22-cv-03892-YGR
Case 4:22-cv-03892-YGR Document 147 Filed 01/26/24 Page 3 of 4




         Exhibit 1
           Case 4:22-cv-03892-YGR Document 147 Filed 01/26/24 Page 4 of 4


                                             Saturday, January 13, 2024 at 12:12:49 Eastern Standard Time

Subject:        Gentex v. Meta | Pursuant to Fed. R. Evid. 408
Date:           Friday, December 22, 2023 at 6:08:42 PM Eastern Standard Time
From:           Meredith Addy
To:          Turner, Ellisen Shelton, AHarber@wc.com
BCC:         Meredith Addy
Attachments: image001.png, image002.jpg


Dear Turner and Adam:

Thank you for taking my call today. As we discussed, Thales withdraws its signature and
agreement to the Term Sheet dated December 21, 2023.

We are available to negotiate further and look forward to doing so.

Best regards,
Meredith


                                           M EREDITH M ARTIN A DDY
                                           Partner

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                                                                                        Exhibit 1           1 of 1
